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Case 3:07-cr-03222-LAB Document 4 Filed 11/28/07 Page 1 of 2

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA
January 2007 Grand Juryo? m 328 ‘: LF`:§
UNITED STATES OF AMERICA, Criminal Case No.
Plaintiff/ l § Q l § l M § § I

Title 18, U.S.C., Secs. 751(a)

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v. )
) and 4082(a) - Escape
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JOSE GONZALEZ ,
aka Alfonso Quintero-Rojas,

Defendant.

 

The grand jury charges:

On or about October 28, 2007, within the Southern District of
California, defendant JOSE GONZALEZ, aka Alfonso Quintero»Rojas,
did escape fron1 an institution and. facility in Whicb. he Was
confined by direction of the Attorney General, to wit, Correctional
Alternatives, Inc., Community Corrections Center in San Diego,
California, said custody and confinement being by virtue of a
felony conviction. of importation of cocaine, in 4violation of
Title 21, United States Code, Sections 952 and 960,
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CPH:nlv:San Diego
11/26/07

 

 

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Case 3:07-cr-03222-LAB Document 4 Filed 11/28/07 Page 2 of 2

and possession of cocaine with intent to distribute, in violation
of Title 2l, United States Code, Section 84l(a)(l); all in
violation of Title 18, United States Code, Sections 7Bl(a)
and 4082(a).

DATED: November 28, 2007.

 

 

FOI`€p€I`SOI'l!/ d \

KAREN P. HEWITT
United States Attorney

By: MC'_D=-_
CAROLINE P. HAN

Assistant U.S. Attorney

 

 

